               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:12 CR 20-4


UNITED STATES OF AMERICA,                    )
                                             )
Vs.                                          )           ORDER
                                             )
THOMAS E. DURHAM, JR.                        )
                                             )
____________________________________         )


        THIS MATTER has come before the undersigned pursuant to a Motion For

Rule 17 Subpoenas Duces Tecum (#157) filed by Christopher C. Fialko, attorney

for Defendant Durham. In the motion, Defendant requests that the Court issue an

order pursuant to Rule 17(c)(1) and 17(c)(3) of the Federal Rules of Criminal

Procedure directing the production of subpoenaed information. The government

responded to the motion in the “Government’s Response to Defendant’s Rule 17

Motion” (#169). At the call of this matter on for hearing it appeared that Mr.

Fialko was presenting Defendant Durham and Assistant United States Attorney

Don Gast was present on behalf of the government. From the motion, the records

in this cause and the arguments of counsel in this matter, the Court makes the

following findings:

        Findings.   The Defendant is charged in a bill of indictment issued in this

matter with conspiracy to misapply bank funds. The alleged victim in this matter
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is Pisgah Community Bank which is a bank owned by the holding company

Capitol BanCorp, Ltd. which is based in Lansing, Michigan. Defendant Durham,

at one time, was president of Pisgah Community Bank in Asheville, North

Carolina. As a part of the preparation for the trial of this matter, Defendant

Durham requests that three subpoenas be issued in this matter directing the

production of documents. The Defendant first requests that a subpoena be issued

to SunTrust Bank Commercial Lending Group of 820 Executive Park, Asheville,

North Carolina directing SunTrust Bank to produce all records concerning a loan

issued to Tony Riels or JARCO Development in relation to property located at 5

Summer Breeze Drive, Fletcher, Buncombe County, North Carolina.             In the

motion, Defendant Durham requests that the following documents be produced in

regard to the above described financial transaction: loan applications; appraisals;

internal bank communications and underwriting; memorandums to the file; HUD-1

settlement statements; and communication between the bank or any employee of

the bank, particularly Ms. Laura Gourlay with Riels or JARCO Development.

The government has no objection to the issuance of the subpoena provided that a

protective order be entered as follows:

      IT IS FURTHER ORDERED that any materials produced in response
      to this subpoena will be accorded the same protections as provided in
      the discovery agreement between the United States and Durham and
      paragraph 21 of the Court’s Standard Criminal Discovery Order. The

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      United States may further disclose such materials as it receives to the
      other defendants in this case or related case subject to the same
      protections.

      Defendant Durham further requests that the Court authorize the issuance of

subpoenas directed to Capital BanCorp, Ltd. and to Susan T. McMinn of Dixon

Hughes Goodman, LLP who is a forensic records custodian for Capital BanCorp,

Ltd. directing that those parties produce all emails of Capital BanCorp, Ltd. or

Pisgah Community Bank sent or received by certain employees of Pisgah

Community Bank, that being Thomas E. “Ted” Durham, David Smith, Craig

Gourlay and Laura Goulay. It has been represented to the Court that Capital

BanCorp, Ltd. would be considered to be a “victim” as described in Rule 17(c)(3).

      In the final subpoena requested by Defendant Durham, Durham requests that

Capital BanCorp, Ltd. produce all documents concerning any insurance or bond

claim made by Capital BanCorp, Ltd., Pisgah Community Bank, or Community

Bank of Rowan based all or in part upon loans involving the Seven Falls

Development or any loans related to the developer Keith Vinson. The government

has no objection to the issuance of such a subpoena provided that copies of these

documents be produced to the government and the documents be produced

pursuant to the terms of the protective order previously referenced herein.

      Discussion. Rule 17(c) of the Federal Rules of Criminal Procedure provides


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as follows:

      (c)     Producing Documents and Objects.

             (1) In General. A subpoena may order the witness to
      produce any books, papers, documents, data, or other objects the
      subpoena designates. The court may direct the witness to produce the
      designated items in court before trial or before they are to be offered
      in evidence. When the items arrive, the court may permit the parties
      and their attorneys to inspect all or part of them

           (2) Quashing or Modifying the Subpoena. On motion
      made promptly, the court may quash or modify the subpoena if
      compliance would be unreasonable or oppressive.

             (3) Subpoena for Personal or Confidential Information
      About a Victim. After a complaint, indictment, or information is
      filed, a subpoena requiring the production of personal or confidential
      information about a victim may be served on a third party only by
      court order. Before entering the order and unless there are exceptional
      circumstances, the court must require giving notice to the victim so
      that the victim can move to quash or modify the subpoena or
      otherwise object.

      In regard to the documents that Defendant requests that SunTrust Bank

produce, the Court finds that SunTrust Bank is not a victim in this matter. The

undersigned will allow Defendant’s motion and direct that counsel for Defendant

issue and prepare a subpoena duces tecum directed to SunTrust Bank Commercial

Lending Group directing that entity to provide all records concerning loans issued

to Tony Riels or JARCO Development in relation to the property located at 5

Summer Breeze Drive, Fletcher, Buncombe County, North Carolina 28732.


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SunTrust Bank shall provide two copies of the documents with one copy to be

produced to Defendant’s attorney at 225 E. Worthington, Avenue, Ste. 200,

Charlotte, North Carolina and another copy provided to Don Gast, Assistant United

States Attorney, 100 Otis Street, Ste. 233, Asheville, North Carolina. Upon receipt

of the subpoena, SunTrust Bank Commercial Lending Group, Tony Riels or

JARCO Development may file a motion to quash or modify the subpoena as

provided by Rule 17(c)(2).

      In regard to the subpoena directing Capital Bancorp, Ltd. Forensic Records

Custodian Susan T. McMinn, Dixon Hughes Goodman, LLP to produce all emails

of Capital Bancorp, Ltd and Pisgah Community Bank computer servers sent or

received by the following employees of Pisgah Community Bank, Thomas E.

Durham, David Smith, Craig Gurlay and Laura Gurlay, such motion will be

allowed. Since Pisgah Community Bank and Capital Bancorp, Ltd. is considered

by this Court to be a victim, before the issuance of the subpoena, the undersigned

will require that notice be given to Capital Bancorp, Ltd. of this Order and Capital

Bancorp, Ltd. will have up to and including June 6, 2013 to move to quash or

modify the subpoena or otherwise object. If no objection is filed, then Defendant

may issue the subpoena and the documents shall be produced to Christopher C.

Fialko, Defendant’s attorney at 225 E. Worthington, Avenue, Ste. 200, Charlotte,


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North Carolina and another copy provided to Don Gast, Assistant United States

Attorney, 100 Otis Street, Ste. 233, Asheville, North Carolina.

      In regard to the subpoena for the records concerning insurance or bond

claims made by Capital Bancorp, Ltd., Pisgah Community Bank or Community

Bank of Rowan, based all or in part upon loans involving the Seven Falls

Development or any loans related to the developer Keith Vinson, such motion will

be allowed.    The undersigned finds that Capital Bancorp, Ltd. and Pisgah

Community Bank would be considered to be a victim and therefore the service of

the subpoena the Court will require that a copy of the proposed subpoena, along

with a copy of this Order be served upon Capital Bancorp, Ltd. and Pisgah

Community Bank. Capital Bancorp. Ltd. and Pisgah Community Bank will be

given up to and including June 6, 2013 to move to quash or modify the subpoena

or otherwise object. If no objection is filed, then Defendant’s counsel will be

allowed to issue the subpoena. The subpoena shall be subject to the protective

order and shall further provide that copies of all documents shall be produced to

Christopher C. Fialko, Defendant’s attorney at 225 E. Worthington, Avenue, Ste.

200, Charlotte, North Carolina and another copy provided to Don Gast, Assistant

United States Attorney, 100 Otis Street, Ste. 233, Asheville, North Carolina.




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                                      ORDER

      IT IS, THEREFORE, ORDERED that the Motion For Rule 17 Subpoenas

Duces Tecum (#157) is hereby ALLOWED in part and DENIED in part and it is

ORDERED that:

      (1)   In regard to the documents that Defendant requests that SunTrust

Bank produce, the Court finds that SunTrust Bank is not a victim in this matter.

The undersigned will allow Defendant’s motion and direct that counsel for

Defendant issue and prepare a subpoena duces tecum directed to SunTrust Bank

Commercial Lending Group directing that entity to provide all records concerning

loans issued to Tony Riels or JARCO Development in relation to the property

located at 5 Summer Breeze Drive, Fletcher, Buncombe County, North Carolina

28732. SunTrust Bank shall provide two copies of the documents with one copy to

be produced to Defendant’s attorney at 225 E. Worthington, Avenue, Ste. 200,

Charlotte, North Carolina and another copy provided to Don Gast, Assistant United

States Attorney, 100 Otis Street, Ste. 233, Asheville, North Carolina. Upon receipt

of the subpoena, SunTrust Bank Commercial Lending Group, Tony Riels or

JARCO Development may file a motion to quash or modify the subpoena as

provided by Rule 17(c)(2);

      (2)   In regard to the subpoena directing Capital Bancorp, Ltd. Forensic


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Records Custodian Susan T. McMinn, Dixon Hughes Goodman, LLP to produce

all emails of Capital Bancorp, Ltd and Pisgah Community Bank computer servers

sent or received by the following employees of Pisgah Community Bank, Thomas

E. Durham, David Smith, Craig Gurlay and Laura Gurlay, such motion will be

allowed. Since Pisgah Community Bank and Capital Bancorp, Ltd. is considered

by this Court to be a victim, before the issuance of the subpoena, the undersigned

will require that notice be given to Capital Bancorp, Ltd. of this Order and Capital

Bancorp, Ltd. will have up to and including June 6, 2013 to move to quash or

modify the subpoena or otherwise object. If no objection is filed, then Defendant

may issue the subpoena and the documents shall be produced to Christopher C.

Fialko, Defendant’s attorney at 225 E. Worthington, Avenue, Ste. 200, Charlotte,

North Carolina and another copy provided to Don Gast, Assistant United States

Attorney, 100 Otis Street, Ste. 233, Asheville, North Carolina;

      (3)   In regard to the subpoena for the records concerning insurance or

bond claims made by Capital Bancorp, Ltd., Pisgah Community Bank or

Community Bank of Rowan, based all or in part upon loans involving the Seven

Falls Development or any loans related to the developer Keith Vinson, such motion

will be allowed. The undersigned finds that Capital Bancorp, Ltd. and Pisgah

Community Bank would be considered to be a victim and therefore the service of


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the subpoena the Court will require that a copy of the proposed subpoena, along

with a copy of this Order be served upon Capital Bancorp, Ltd. and Pisgah

Community Bank. Capital Bancorp. Ltd. and Pisgah Community Bank will be

given up to and including June 6, 2013 to move to quash or modify the subpoena

or otherwise object. If no objection is filed, then Defendant’s counsel will be

allowed to issue the subpoena. The subpoena shall be subject to the protective

order and shall further provide that copies of all documents shall be produced to

Christopher C. Fialko, Defendant’s attorney at 225 E. Worthington, Avenue, Ste.

200, Charlotte, North Carolina and another copy provided to Don Gast, Assistant

United States Attorney, 100 Otis Street, Ste. 233, Asheville, North Carolina.

      IT IS FURTHER ORDERED that the documents provided by each

subpoena shall be subject to the following protective order:

      It is further ORDERED that any materials produced in response to any of

the subpoenas ordered herein will be accorded the same protections as provided in

the discovery agreement between the United States and Durham in Paragraph 21 of

the Court’s Standard Discovery Order. The United States may further disclose

such materials as it received to other Defendants in this case or related case subject

to the same protections.

                                                      Signed: May 29, 2013




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